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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                  UNITED STATES BANKRUPTCY COURT
 88                                CENTRAL DISTRICT OF CALIFORNIA
                                    SAN FERNANDO VALLEY DIVISION
 99
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
10
10                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
11
11    corporation1,
                                                          Chapter 11 Cases
12
12
               Debtor and Debtor in Possession.
13
13    ____________________________________
      In re:                                              APPLICATION OF DEBTORS AND
14
14                                                        DEBTORS IN POSSESSION TO
      ICPW Liquidation Corporation, a Nevada              EMPLOY BPE&H AN ACCOUNTACY
15
15    corporation2,                                       CORPORATION AS CERTIFIED
16                                                        PUBLIC ACCOUNTANT TO THE
16
               Debtor and Debtor in Possession.           DEBTORS PURSUANT TO 11 U.S.C. §§
17
17    ____________________________________                327 WITH COMPENSATION
                                                          PURSUANT TO 11 U.S.C. § 328;
18
18         Affects both Debtors                           DECLARATION OF MARTIN BELAK-
                                                          BERGER, CPA IN SUPPORT
19
19      Affects ICPW Liquidation Corporation, a           THEREOF
20    California corporation only
20
                                                          [Application for an Order Setting Matter
21
21      Affects ICPW Liquidation Corporation, a           for Hearing on Shortened Notice filed
      Nevada corporation only                             concurrently herewith]
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27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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28

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 11           ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

 22   Performance Wear Corporation, a California corporation, and ICPW Liquidation Corporation, a

 33   Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

 44   corporation, the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy

 55   cases (collectively, the “Debtors”), hereby submit this application (the “Application”) for Court

 66   approval of their employment of BPE&H An Accountancy Corporation (the “Accountant”) as

 77   the Debtors’ certified public accountant pursuant to sections 327 and 328 of title 11 of the United

 88   States Code (as amended, the “Bankruptcy Code”) and Rules 2014 and 2016 of the Federal Rules

 99   of Bankruptcy Procedure (the “Bankruptcy Rules”), upon the terms and conditions described
10
10    below, with the Debtors employment of the Accountant to be effective as of December 1, 2017.
11
11    A.      Background Information.
12
12            1.      The Debtors each filed a Voluntary Petition for relief under Chapter 11 of the
13
13    Bankruptcy Code on the Petition Date. The Debtors continue to operate their businesses and
14
14    manage their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the
15
15    Bankruptcy Code. On September 12, 2017, the Court entered an order jointly administering the
16
16    Debtors’ bankruptcy cases.
17
17            2.      On November 3, 2017, as Docket Number 177, the Court entered an order (the
18
18    “Sale Order”) approving of the Debtors’ sale of substantially all of their assets to Brighton-Best
19
19    International, Inc. (“BBI”), the winning bidder at the Auction which occurred on October 30,
20
20    2017 at 10:00 a.m. before the Court. The Debtors’ asset sale to BBI closed on November 14,
21
21    2017.
22
22            3.      In connection with administering these bankruptcy cases, the Debtors and the
23
23    Official Committee of Equity Holders (the “OCEH”) have decided to proceed with the filing of a
24
24    joint plan. The Debtors expect that they and the OCEH will be in a position to file their joint
25
25    plan in the very near future as the preparation of those documents are very far along. The
26
26    Debtors and the OCEH intend to confirm their joint plan and have their joint plan go effective
27
27    prior to the end of the first quarter of 2018.
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 11   B.     Employment of the Accountant.

 22          4.      In order for the Debtors to expeditiously administer these bankruptcy cases to

 33   conclusion, the Debtors require the immediate assistance of a certified public accountant to assist

 44   the Debtors in connection with: (1) preparing and filing the Debtors’ 2016 federal and state tax

 55   returns; (2) preparing and filing the Debtors’ 2017 federal and state tax returns; and (3) preparing

 66   and filing the Debtors’ 2018 federal and state tax returns. The Debtors have determined that the

 77   Accountant is qualified to assist the Debtors with these matters. Attached as Exhibit 1 to the

 88   annexed Declaration of Martin Belak-Berger (“Declaration”) is the Accountant’s firm resume.

 99          5.      Because the Debtors are working toward preparing and filing a plan as soon as
10
10    possible, and administering these cases as soon as possible, the Debtors have requested approval
11
11    of this Application on an expedited basis, so that the Accountant can begin to immediately
12
12    provide services to the Debtors upon entry of an order approving the Application without any
13
13    delay, and so that the Debtors can use the tax return information prepared by the Accountant in
14
14    connection with their plan. Moreover, the Debtors believe that it would not be fair to the
15
15    Accountant to require the Accountant to begin providing substantial services to the Debtors
16
16    without first obtaining a Court order authorizing the Accountants to perform work for the
17
17    Debtors and approving the terms of the Accountant’s engagement.
18
18           6.      The fees proposed to be charged by the Accountant to perform the work listed
19
19    above is a fixed fee in the total amount of $30,500, as follows: (1) $13,000 to prepare and file
20
20    2016 tax returns; (2) $15,000 to prepare and file 2017 tax returns; and (3) $2,500 to prepare and
21
21    file 2018 tax returns, provided, however, that, to the extent there is more activity than anticipated
22
22    in 2018, the Accountant reserves the right to request additional fees in connection with preparing
23
23    and filing 2018 tax returns. The Accountant is requesting, and the Debtors have agreed to
24
24    provide to the Accountant, subject to Court approval, a retainer in the amount of $10,000 prior to
25
25    commencement of services. Attached hereto as Exhibit 2 is a true and correct copy of the
26
26    Engagement Agreement between the Debtors and the Accountant.
27
27           7.      Pursuant to 11 U.S.C. 328, which authorizes the employment of the Accountant
28
28    “on any reasonable terms…including…on a fixed…fee basis”, the Debtors and the Accountant

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 11   request that the Court approve and authorize the payment of the post-petition retainer, and

 22   approve the proposed fixed fee in its entirety on a final basis, without the need for the

 33   Accountant to file interim or final fee applications in these cases, and authorize the Debtors to

 44   pay the fixed fee using their cash on hand or sale proceeds upon completion of work. The

 55   Accountant will not be keeping time records for work performed, given that this is a fixed fee

 66   arrangement limited to the preparation and filing of tax returns. The Debtors submit that, given

 77   the limited nature and scope of work to be performed by the Accountant, approval of the fixed

 88   fee on a final basis is appropriate.

 99           8.      The Debtors have not paid the Accountant any money in connection with the
10
10    Accountant’s proposed retention by the Debtors, but, as set forth above, the Accountant is
11
11    requesting a $10,000 retainer in order to commence work.
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12            9.      The Accountant has not received any lien or other interest in property of the
13
13    Debtors or of any third party to secure payment of the Debtors’ proportionate share of the
14
14    Accountant’s fees or expenses.
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15            10.     The Accountant has not shared or agreed to share its compensation for
16
16    representing the Debtors with any other person or entity, except among its members.
17
17            11.     The Accountant understands the provisions of 11 U.S.C. Sections 327, 328, 330
18
18    and 331 which require, among other things, Court approval of the Debtors’ employment of the
19
19    Accountant as certified public accountant to the Debtors and of all fees and reimbursement of
20
20    expenses that the Accountant will receive from the Debtors and the Debtors’ estates.
21
21    C.      Disclosures Pursuant To Rule 2014 Of The Federal Rules Of Bankruptcy Procedure.
22
22            12.     The Accountant is not a creditor, an equity security holder or an insider of the
23
23    Debtors.
24
24            13.     The Accountant submits that its concurrent retention by both Debtors, creates no
25
25    conflict of interest which will prevent the Accountant from effectively providing services to the
26
26    Debtors, and that having separate accounting firms provide services to the Debtors is a
27
27    completely impractical option, both from an economic and logistical perspective.
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 11          14.     The Accountant is not and was not an investment banker for any outstanding

 22   security of the Debtors. The Accountant has not been within three years before the Petition Date

 33   an investment banker for a security of the Debtors, or an attorney for such an investment banker

 44   in connection with the offer, sale or issuance of any security of the Debtors.

 55          15.     Neither the Accountant nor any member of the Accountant is, nor was, within two

 66   years before the Petition Date, a director, officer or employee of the Debtors or of any

 77   investment banker for any security of the Debtors.

 88          16.     As set forth in the Declaration, to the best of the Accountant’s knowledge, other

 99   as discussed herein, the Accountant does not hold or represent any interest materially adverse to
10
10    the interests of the Debtors’ estates or of any class of creditors or equity security holders, by
11
11    reason of any direct or indirect relationship to, connection with, or interest in, the Debtors or an
12
12    investment banker for any security of the Debtors, or for any other reason.
13
13           17.     As further set forth in the Declaration, to the best of the Accountant’s knowledge,
14
14    the Accountant does not hold or represent any interest materially adverse to the Debtors or the
15
15    Debtors’ estates, and the Accountant is a “disinterested person” as that term is defined in Section
16
16    101(14) of the Bankruptcy Code. Also, to the best of the Accountant’s knowledge, other than as
17
17    set forth herein, the Accountant has no prior connection with the Debtors, any creditors of the
18
18    Debtors or their estates, or any other party in interest in these cases, or their respective attorneys
19
19    or accountants, the United States Trustee or any person employed by the United States Trustee.
20
20    The Accountant serves as accountant to Levene, Neale, Bender, Yoo & Brill L.L.P. (bankruptcy
21
21    counsel to the Debtors) and its partners, and the Accountant also serves as accountant to the
22
22    Honorable Martin R. Barash. However, neither the Debtors nor the Accountant believes that
23
23    these connections which are wholly unrelated to these bankruptcy cases disqualify Accountant
24
24    from performing accounting work for the Debtors.
25
25           18.     The Debtors believe that their employment of the Accountant upon the terms and
26
26    conditions set forth above, effective as of December 1, 2017, is in the best interest of the
27
27    Debtors’ estates.
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 11            WHEREFORE, the Debtors respectfully request the Court to approve their employment

 22   of the Accountant as their certified public accountant upon the terms and conditions set forth

 33   above.

 44   Dated: December 4, 2017                     ICPW LIQUIDATION CORPORATION, a
 55                                               California   Corporation, and ICPW
                                                  PERFORMANCE WEAR CORPORATION, a
 66                                               Nevada Corporation

 77
                                                  _______________________________________
 88
                                                  Geoff Greulich
 99                                               Chief Executive Officer

10
10    Submitted by:
11
11    LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
12
12
13
13    By:    /s/ Krikor J. Meshefejian
             RON BENDER
14
14           MONICA Y. KIM
             KRIKOR J. MESHEFIEJIAN
15
15    Attorneys for Chapter 11 Debtors
16    and Debtors in Possession
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 11                         DECLARATION OF MARTIN BELAK-BERGER

 22          I, Martin Belak-Berger, CPA hereby declare as follows:

 33          1.      I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto.

 55          2.      I am a shareholder at BPE&H An Accountancy Corporation (the “Accountant”).

 66   I am also a certified public accountant. I make this Declaration in support of the Application to

 77   which this Declaration is attached. Capitalized terms not otherwise defined have the same

 88   meaning ascribed to such terms in the Application.

 99          3.      The Debtors have advised me that they require the immediate assistance of a
10
10    certified public accountant to assist the Debtors in connection with: (1) preparing and filing the
11
11    Debtors’ 2016 federal and state tax returns; (2) preparing and filing the Debtors’ 2017 federal
12
12    and state tax returns; and (3) preparing and filing the Debtors’ 2018 federal and state tax returns.
13
13           4.      Accountant is qualified to assist the Debtors with these matters. Attached as
14
14    Exhibit 1 to this Declaration is the Accountant’s firm resume.
15
15           5.      The Debtors have requested approval of this Application on an expedited basis, so
16
16    that the Accountant can begin to immediately provide services to the Debtors upon entry of an
17
17    order approving the Application without any delay. The Debtors have requested that Accountant
18
18    begin to provide services immediately, in order to assist the Debtors with expeditiously
19
19    administering these bankruptcy cases, and Accountant has requested that the Debtors obtain an
20
20    order approving Accountant’s employment prior to providing substantial services to the Debtors.
21
21           6.      The fees proposed to be charged by the Accountant to perform the work listed
22
22    above is a fixed fee in the total amount of $30,500, as follows: (1) $13,000 to prepare and file
23
23    2016 tax returns; (2) $15,000 to prepare and file 2017 tax returns; and (3) $2,500 to prepare and
24
24    file 2018 tax returns, provided, however, that, to the extent there is more activity than anticipated
25
25    in 2018, the Accountant reserves the right to request additional fees in connection with preparing
26
26    and filing 2018 tax returns. The Accountant is requesting, and the Debtors have agreed to
27
27    provide to the Accountant, subject to Court approval, a retainer in the amount of $10,000 prior to
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 11   commencement of services. Attached hereto as Exhibit 2 is a true and correct copy of the

 22   Engagement Agreement between the Debtors and the Accountant.

 33           7.      Pursuant to 11 U.S.C. 328, which authorizes the employment of the Accountant

 44   “on any reasonable terms…including…on a fixed…fee basis”, the Debtors and the Accountant

 55   request that the Court approve and authorize the payment of the post-petition retainer, and

 66   approve the proposed fixed fee in its entirety on a final basis, without the need for the

 77   Accountant to file interim or final fee applications in these cases, and authorize the Debtors to

 88   pay the fixed fee using their cash on hand or sale proceeds upon completion of work. The

 99   Accountant will not be keeping time records for work performed, given that this is a fixed fee
10
10    arrangement limited to the preparation and filing of tax returns. The Debtors submit that, given
11
11    the limited nature and scope of work to be performed by the Accountant, approval of the fixed
12
12    fee on a final basis is appropriate.
13
13            8.      The Debtors have not paid the Accountant any money in connection with the
14
14    Accountant’s proposed retention by the Debtors, but, as set forth above, the Accountant is
15
15    requesting a $10,000 retainer in order to commence work.
16
16            9.      The Accountant has not received any lien or other interest in property of the
17
17    Debtors or of any third party to secure payment of the Debtors’ proportionate share of the
18
18    Accountant’s fees or expenses.
19
19            10.     The Accountant has not shared or agreed to share its compensation for
20
20    representing the Debtors with any other person or entity, except among its members.
21
21            11.     The Accountant understands the provisions of 11 U.S.C. Sections 327, 328, 330
22
22    and 331 which require, among other things, Court approval of the Debtors’ employment of the
23
23    Accountant as certified public accountant to the Debtors and of all fees and reimbursement of
24
24    expenses that the Accountant will receive from the Debtors and the Debtors’ estates.
25
25            12.     The Accountant is not a creditor, an equity security holder or an insider of the
26
26    Debtors.
27
27            13.     The Accountant submits that its concurrent retention by both Debtors, creates no
28
28    conflict of interest which will prevent the Accountant from effectively providing services to the

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 11   Debtors, and that having separate accounting firms provide services to the Debtors is a

 22   completely impractical option, both from an economic and logistical perspective.

 33          14.     The Accountant is not and was not an investment banker for any outstanding

 44   security of the Debtors. The Accountant has not been within three years before the Petition Date

 55   an investment banker for a security of the Debtors, or an attorney for such an investment banker

 66   in connection with the offer, sale or issuance of any security of the Debtors.

 77          15.     Neither the Accountant nor any member of the Accountant is, nor was, within two

 88   years before the Petition Date, a director, officer or employee of the Debtors or of any

 99   investment banker for any security of the Debtors.
10
10           16.     To the best of my knowledge, other as discussed herein, the Accountant does not
11
11    hold or represent any interest materially adverse to the interests of the Debtors’ estates or of any
12
12    class of creditors or equity security holders, by reason of any direct or indirect relationship to,
13
13    connection with, or interest in, the Debtors or an investment banker for any security of the
14
14    Debtors, or for any other reason.
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                           EXHIBIT “2”
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled APPLICATION OF DEBTORS AND
      DEBTORS IN POSSESSION TO EMPLOY BPE&H AN ACCOUNTACY CORPORATION AS
  4   CERTIFIED PUBLIC ACCOUNTANT TO THE DEBTORS PURSUANT TO 11 U.S.C. §§ 327 WITH
      COMPENSATION PURSUANT TO 11 U.S.C. § 328; DECLARATION OF MARTIN BELAKBERGER,
  5   CPA IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
      manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On December 4, 2017, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 19
      2. SERVED BY UNITED STATES MAIL: On December 4, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.
 22                                                                           Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on December 4, 2017, I served the following persons and/or entities by personal delivery, overnight mail
 25   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 26   mail to, the judge will be completed no later than 24 hours after the document is filed.

 27                                                                           Service information continued on attached page

 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       December 4, 2017                   Stephanie Reichert                             /s/ Stephanie Reichert
  6    Date                               Type Name                                      Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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SERVED BY OVERNIGHT MAIL:




Committee Counsel                 Equity Committee Counsel             United States Trustee
Brown Rudnick LLP                 Dentons US LLP                       915 Wilshire Blvd., Suite 1850
Attn: Cathrine M Castaldi         Attn: Samuel Maizel & Tania Moyron   Los Angeles, California 90017
2211 Michelson Dr 7th Fl          601 South Figueroa St., Suite 2500
Irvine, CA 92612                  Los Angeles, CA 90017-5704
